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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
     LETITIA JAMES                                                                         DIVISION OF SOCIAL JUSTICE
    ATTORNEY GENERAL                                                                             CHARITIES BUREAU

                                                                                                  212.416.6241
                                                                                             Emily.Stern@ag.ny.gov

February 10, 2021

Via Electronic Filing
Hon. Ronnie Abrams
United States District Court
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

                         Re:      People v. Diocese of Buffalo et al., No. 21-cv-189

Dear Judge Abrams:
        I write on behalf of Plaintiff, the People of the State of New York, by the Attorney
General Letitia James, to address a preliminary scheduling matter left unresolved by this case’s
recent reassignment.
       The Attorney General commenced this action in New York State Supreme Court on
November 23, 2020. Before responding to the Complaint, Defendant the Diocese of Buffalo
removed the action from state court on January 9, 2021. 1 The case was initially assigned to
Judge Vyskocil and reassigned to Judge Crotty on January 13.
       Pursuant to Judge Crotty’s Individual Rules, the Attorney General filed a letter on
January 25 to request a pre-motion conference in advance of moving to remand the action
(Docket No. 5). On January 28, Judge Crotty responded with a Notice of Pre-Motion
Conference that scheduled the conference for tomorrow, February 11. In a letter filed with the
Court the next day, the Attorney General confirmed that she understood the Notice to extend the
30-day statutory deadline for moving to remand until such date as directed by the Court at the
February 11 conference (Docket No. 9). Yesterday, Judge Crotty recused himself from this
matter and adjourned the pre-motion conference sine die.
       In light of Judge Crotty’s recusal, the Attorney General respectfully requests the Court’s
guidance on whether the pre-motion conference will be rescheduled. If not, the Attorney
General proposes that her time to move for remand be extended until Monday, February 22,
2021, when the Attorney General will submit her opening brief.


1
          Prior to removal, the Attorney General had agreed to extend all Defendants’ time to respond to the
          Complaint until February 26, 2021.

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                                                          Respectfully submitted,

                                                          /s/ Emily Stern

                                                          Co-Chief, Enforcement Section
                                                          Assistant Attorney General

cc:   Counsel of Record (via ECF)




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